       Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 1 of 28




                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

BERNHARDT TIEDE, II;                         §
TEXAS PRISONS COMMUNITY                      §
ADVOCATES; DISABILITY RIGHTS                 §
TEXAS; BUILD UP, INC. a/k/a LIONESS:         §
JUSTICE IMPACTED WOMEN’S                     §
ALLIANCE; and COALITION FOR TEXANS           §
WITH DISABILITIES,                           §
                                             §
             Plaintiffs,                     §   Civil Action No.: 1:23-cv-01004-RP
v.                                           §
                                             §
BRYAN COLLIER, in his official capacity as   §
Executive Director of Texas Department of    §
Criminal Justice,                            §
                                             §
             Defendant.                      §
                                             §

              PLAINTIFFS’ SECOND AMENDED LIST OF EXHIBITS
                 FOR PRELIMINARY INJUNCTION HEARING
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 2 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                          Stip.   Obj.             Date Admitted
 No.
  1       Development of Heat Pyrexia by Joseph Gold
          (July 16, 1960)

  2       Acute Heat Stroke: Epidemiologic, Biochemical, Renal,
          and Coagulation Studies by Thomas F. O’Donnell, Jr.
          (Nov. 24, 1975)

  3       Morbidity and Mortality Associated With the July 1980
          Heat Wave in St. Louis and Kansas City, MO by Stephen
          Jones (June 25, 1982)

  4       Extreme High-Temperature Events: Changes in Their
          Probabilities with Changes in Mean Temperature by
          Mearns, Katz and Schneider (Dec. 1, 1984)

  5       Heat-Related Illnesses and Deaths — United States,
          1994–1995 by MWWR (June 30, 1995)

  6       Heat-Related Deaths During the July 1995 Heat Wave in
          Chicago by Jan C. Semenza (July 11, 1996)

  7       Heat-Related Death and Mental Illness During the 1999
          Cincinnati Heat Wave by Reinhard Kaiser, et al. (Sept. 3,
          2001)

  8       Southern Medical Journal: Drug-Associated Heat Stroke
          (August 1, 2022)

  9       Future Climate: What We Know, What We Don’t Know
          by Linda O. Mearns (Oct. 10, 2002)



                                                                      1
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 3 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.    Obj.              Date Admitted
 No.
  10      Changing Heat-Related Mortality in the United States by
          Robert E. Davis (Nov. 1, 2003)

  11      Excessive Heat Events Guidebook as published by the
          U.S. EPA Office of Atmospheric Programs (March 1,
          2006)

  12      Dividing the Waters – High Resolution Climate Scenarios
          by L. O. Mearns (May 14, 2007)

  13      Prognostic Factors in Heat Wave-Related Deaths: A
          Meta-Analysis by Abderrezak Bouchama (Nov. 12, 2007)

  14      Drug-Induced Hyperhidrosis and Hypohidrosis by
          William P. Cheshire, Jr., et al. (2008)

  15      The 2006 California Heat Wave: Impacts on
          Hospitalizations and Emergency Department Visits by
          Kim Knowlton (Jan. 1, 2009)

  16      Heat-Related Illnesses During the 2003 Heat Wave in an
          Emergency Service by M. Oberlin, et al. (July 8, 2009)

  17      The Effects of Temperature and Use of Air Conditioning
          on Hospitalizations by Ban Ostro (Sept. 9, 2010)

  18      The Impact of Extreme Heat on Morbidity in Milwaukee,
          Wisconsin by Bo Li, et al. (June 8, 2011)




                                                                    2
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 4 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.    Obj.              Date Admitted
 No.
  19      Temperature Log from the Texas Department of Criminal
          Justice’s Hutchins Unit (July 15, 2011)

  20      Diagnosis and Treatment of Drug-Induced Hyperthermia
          by Megan E. Musselman, et al. (Jan. 1, 2013)

  21      Deposition of Roy Storie in McCollum v. Livingston, No.
          312-cv-02037, USDC ND TX (March 4, 2014)

  22      Identifying Individual Risk Factors and Documenting the
          Pattern of Heat-Related Illness through Analyses of
          Hospitalization and Patterns of Household Cooling by
          Michael T. Schmeltz (March 5, 2015)

  23      Multiple Trigger Points for Quantifying Heat-Health
          Impacts: New Evidence from a Hot Climate by Diana B.
          Petitti (Feb. 1, 2016)

  24      National Weather Service Heat Index Chart (Feb. 26,
          2016)

  25      Deposition of Bryan Collier in McCollum v. Livingston,
          No. 414-cv-3253 in the USDC SD TX (March 30, 2016)

  26      Testimony of Susanna Vassallo in Bailey v. Livingston,
          No. 414-cv-01698, USDC SD TX (June 1, 2016)

  27      Testimony of Phyllis McWhorter in Cole v. Collier, No.
          414-cv-1698, USDC SD TX (June 23, 2017)




                                                                    3
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 5 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                           Stip.   Obj.             Date Admitted
 No.
  28      Old Autopsies, Part 1 (filed June 29, 2017)

  29      Old Autopsies, Part 2 (filed June 29, 2017)

  30      Orders and Discovery Responses, Webb v. Livingston,
          Cole v. Livingston, and Cole v. Collier

  31      Texas Department of Criminal Justice’s Health Services
          Liaison Facility Types List

  32      “Cooking Them to Death” The Lethal Toll of Hot Prisons
          by Maurice Chammah (Oct. 11, 2017)

  33      Risk Characterization of Hospitalizations for Mental
          Illness and/or Behavioral Disorders with Concurrent
          Heat-Related Illness by Michael T. Schmeltz, et al. (Oct.
          16, 2017)

  34      Interim Report 2018 by the House Committee on
          Corrections of the Texas House of Representatives (Nov.
          16, 2018)

  35      Influence of Heat Waves on Daily Hospital Visits for
          Mental Illness in Jinan, China – A Case-Crossover Study
          by Xuena Liu, et al. (Dec. 30, 2018)

  36      Correctional Managed Health Care Policy Manual, Heat
          Stress, D-27.2, Effective Date 05/28/2019, as published by
          the Texas Department of Criminal Justice (May 28, 2019)




                                                                       4
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 6 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.     Obj.              Date Admitted
 No.
  37      TBCJ 205th Meeting Minutes (June 21, 2019)

  38      Hearing transcript, Cole v. Collier (Sept. 10, 2019)

  39      Guidelines for Completing the Health Summary for
          Classification Form Policy A-08.4, Attachment A, as
          published by the Texas Department of Criminal Justice
          (Nov. 5, 2019)

  40      TDCJ’s Seasonal Preparedness Memos and
          Communications, Mr. Collier’s Response to RFP # 4

  41      TBCJ 208th Meeting Minutes (Dec. 12, 2019)

  42      Heat-Related Deaths – United States, 2004-2018 by
          Ambarish Vaidyanathan (June 19, 2020)

  43      The Implications of Hypothalamic Abnormalities for
          Schizophrenia by Hans-Gert Bernstein, et al. (2021)

  44      Use of Multiple Anticholinergic Medications Can
          Predispose Patients to Severe Non-exertional
          Hyperthermia by Ahila Manivannan, et al. (March 23,
          2021)

  45      After Sweltering Temperatures Killed Texas Prisoners,
          Lawmakers Vote to Install Air Conditioning by The Texas
          Tribune (May 14, 2021)




                                                                    5
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 7 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.    Obj.              Date Admitted
 No.
  46      Global, Regional, and National Burden of Mortality
          Associated with Non-Optimal Ambient Temperatures from
          2000 to 2019: a Three-Stage Modelling Study as
          published by the Lancet (July 1, 2021)

  47      The Casual Effect of Heat on Violence: Social
          Implications of Unmitigated Heat Among the Incarcerated
          by the National Bureau of Economic Research (July 1,
          2021)

  48      TDCJ’s Purchase Orders for Temporary Air Conditioning
          Units

  49      Extreme Weather in Texas by Texas A&M University
          (Oct. 7, 2021)

  50      Antipsychotic Medication – Induced Hyperthermia
          Leading to Cerebrovascular Accident: A Case Report by
          Karimah Best, et al. (Oct. 11, 2021)

  51      Michelle Deitch CV

  52      Correctional Managed Health Care Policy Manual No. H-
          65.1 (Nov. 22, 2021)

  53      Lioness Members Outside Data - AEO

  54      Association of Extreme Heat With All-Cause Mortality in
          the Contiguous US, 2008-2017 by Sameed Ahmed




                                                                    6
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 8 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                          Stip.   Obj.             Date Admitted
 No.
  55      Extreme Temperatures and Covid19 in Texas Prisons by
          J. Carlee Purdum, Ph.D. et al. (July 2022)

  56      Temperatures Inside Texas Prison Units Regularly Reach
          110 Degrees, new report says by Claire Colbert (July 23,
          2022)

  57      Temperature Inside Baking Texas Prisons With No AC
          Regularly Hits 110 Degrees, Study Finds by Josh Marcus
          (July 26, 2022)

  58      Drug-Induced Hyperthermia Review by Michael
          Horseman, et al. (July 26, 2022)

  59      New Study Details How Extreme Heat is Affecting Texas
          Prisons by Texas Standard (July 29, 2022)

  60      Incarceration Rate Report – Highest and Lowest August
          1, 2022, published by the Texas Commission on Jail
          Standards (Aug. 1, 2022)

  61      ‘I Thought I Was Going to Die There.’ What’s it’s Like to
          Live with Rising Temperatures in Prison by Hannah
          Grabenstein (Aug. 19, 2022)

  62      Lioness Members Inside Data - AEO

  63      Communications Between Dr. Dominick and Collier,
          TIEDE_DEF0110695 (Aug. 23, 2022)




                                                                      7
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 9 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                          Stip.   Obj.              Date Admitted
 No.
  64      In a Sweltering Texas Jail, Cool Towels but No Air-
          Conditioners by NY Times (Aug. 26, 2022)

  65      TDCJ Fiscal Year 2023 Operating Budget (Aug. 26,
          2022)

  66      Heatwaves kill more Americans than hurricanes,
          tornadoes and floods, published by The Economist (Sept.
          3, 2022)

  67      Preparing Patients with Serious Mental Illness for
          Extreme Heat by Carol Lim, et a (Sept. 2022)

  68      TDCJ Joint Budget Hearing (Sept. 30, 2022)

  69      TBCJ 225th Meeting Minutes (Oct. 14, 2022)

  70      Provision of Air Conditioning and Heat-Related Mortality
          in Texas Prisons and Supplement by Julianne Skarha et al.
          (Nov. 2, 2022)

  71      TX Prison Heat Averages 2022-2023

  72      Statistical Report Fiscal Year 2023 as published by the
          Texas Department of Criminal Justice

  73      2022 Associations Between Extreme Temperatures and
          Cardiovascular Cause-Specific Mortality: Results From
          27 Countries by Barrak Alahmad, et al. (Jan. 3, 2023)




                                                                      8
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 10 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                          Stip.   Obj.             Date Admitted
 No.
  74      TBCJ 227th Meeting Minutes (Feb. 10, 2023)

  75      Heat-Related Mortality in U.S. State and Private Prisons:
          A Case-Crossover Analysis by Julianne Skarha et al.
          (March 1, 2023)

  76      Schizophrenia Pinpointed as a Key Factor in Heath
          Deaths by Warren Cornwall (March 17, 2023)

  77      Charlie Malouff Testimony for HB1355 (March 24, 2023)

  78      Charlie Malouff Testimony for HB2950 (March 24, 2023)

  79      Charlie Malouff Testimony for HB1708 (March 24, 2023)

  80      TBCJ 228th Meeting Minutes (April 21, 2023)

  81      Picture of Mr. Bernhardt Tiede II (2023)

  82      TBCJ 229th Meeting Minutes (June 23, 2023)

  83      ‘Man Down!’: Surviving the Texas Heat in Prisons
          Without Air-conditioning by NY Times (June 29, 2023)

  84      Email from John Pulvino (UTMB) to TDCJ and TTUHSC
          entitled “June 23 Heat Injury Report,” Bates No.
          TIEDE_DEF0107957 (June 30, 2023)

  85      Attachment to Pulvino Email, Entitled “Heat Related
          Illnesses Report,” TIEDE_DEF0107958 (June 30, 2023)



                                                                      9
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 11 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.     Obj.              Date Admitted
 No.
  86      Inmates are Dying in Stifling Texas Prisons, but the State
          Seldom Acknowledges Heat as a Cause of Death by TEX.
          TRIBUNE (July 3, 2023)

  87      People in Prison Struggle to Survive Unrelenting Heat
          Without Air Conditioning by PBS News Weekend (July
          15, 2023)

  88      Texas Says No Inmates Have Died Due to Stifling Heat in
          its Prisons Since 2012. Some Data May Suggest
          Otherwise, as published by CBS News

  89      Email Complaint re: Hughes Unit Demonstrating How
          Staffing Issues Hurt Respite Access,
          TIEDE_DEF0109642 (July 19, 2023)

  90      Texas Prisons Are Cooking People Alive. Are We Okay
          With That? Part 1 in a series about heat in prison,
          published by the Austin Chronicle (Aug. 11, 2023)

  91      Extreme Heat and Suicide Watch Incidents Among
          Incarcerated Men by David H. Cloud, et al. (Aug. 11,
          2023)

  92      The State Claims No One Is Dying From 120+º F in
          Prisons, Part 2 The State’s Response to the Prison Heat
          Crisis, published by the Austin Chronicle (Aug. 18, 2023)




                                                                       10
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 12 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.     Obj.              Date Admitted
 No.
  93      ‘Why Didn’t They Just Kill Us?’ Three Women Talk About
          Life in a Texas Prison Without AC by KUT News (Aug.
          18, 2023)

  94      As the death toll in stifling Texas prisons climbs,
          congressional Democrats ask for investigation by Jodie
          McCullough (Aug. 21, 2023)

  95      Lobbying to Save Lives in Texas Prisons, It’ll Cost $500
          Million to Ger A/C in Prisons by Austin Chronicle (Aug.
          25, 2023)

  96      Texas Inmates Using Toilet Water to Cool Off in Prisons
          Without A/C, According to Woman’s Viral Testimony by
          WFAA (Aug. 29, 2023)

  97      Texas Congressman Calls for an Investigation as Prisoner
          Deaths Spike in Heat by NPR News (Sept. 4, 2023)

  98      Extreme Heat Can be a Death Sentence in Texas Prisons
          by Yale Climate Connections (Sept. 29, 2023)

  99      Incarcerated People Endure Sweltering Heat and
          Freezing Cold Inside Ill-Equipped Facilities by the 19TH
          (Oct. 5, 2023)

  100     Prisoners in 2022 – Statistical Tables as published by the
          United States Department of Justice, Bureau of Justice
          Statistics (November 2023)




                                                                       11
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 13 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                    Stip.        Obj.              Date Admitted
 No.
  101     TDCJ Complaints and Policies re Temperature in TDCJ
          Facilities (Nov. 30, 2023)

  102     TDCJ Report “Monitoring of Temperature and
          Temperature-Related Deaths Fiscal Year 2023 Report”
          (Dec. 5, 2023)

  103     Mental Illness and Increased Vulnerability to Negative
          Health Effects from Extreme Heat Events: A Systematic
          Review by Julia Meadows, et al. (Dec. 15, 2023)

  104     Priya Banerjee, M.D. CV (January 2024)

  105     Linda Mearns CV (February 2024)

  106     Declaration of Antonella Zanobetti (April 10, 2024)

  107     Dean Williams CV

  108     Declaration of Dean Williams (April 11, 2024)

  109     Declaration of Linda Mearns (April 11, 2024)

  110     Declaration of Jennifer Toon (April 12, 2024)

  111     Resume of Charles A. Malouff, Jr., M.P.O.Ret.

  112     Declaration of Priya Banerjee (April 15, 2024)

  113     Declaration of Susi Vassallo (April 15, 2024)



                                                                   12
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 14 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                         Stip.    Obj.              Date Admitted
 No.
  114     Susi Vassallo CV

  115     Declaration of Charlie Malouff (April 17, 2024)

  116     Declaration of Chase Bearden (April 17, 2024)

  117     Third Declaration of Jennette Cross, MD (April 18, 2024)

  118     Antonella Zanobetti, PhD. CV (April 22, 2024)

  119     Declaration of Brandon Duke (April 23, 2024)

  120     Exceptional Heat of Summer 2023 as maintained by the
          National Weather Service

  121     Heat Index as maintained by the National Weather
          Service

  122     TDCJ Air Conditioning Construction Projects as
          maintained by the Texas Department of Criminal (April
          17, 2024)

  123     Texas Profile as maintained by the Prison Policy Initiative

  124     Unit Directory as maintained by the Texas Department of
          Criminal Justice

  125     What is the heat index as maintained by the National
          Weather Service




                                                                        13
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 15 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                         Stip.    Obj.              Date Admitted
 No.
  126     Plaintiff's First Set of Interrogatories to Defendant Bryan
          Collier in his Official Capacity (June 4, 2024)

  127     Plaintiff's First Set of Requests for Production to
          Defendant Bryan Collier in his Official Capacity (April
          29, 2024)

  128     High Value Data Sets

  129     Subpoena Return for Texas Department of Criminal
          Justice Hospital

  130     Subpoena Return for University of Texas Medical Branch
          – Texas Department of Criminal Justice

  131     Jhilam Biswas CV (May 13, 2024)

  132     TDCJ Temperature Report FY2020, TIEDE DEF_17696

  133     Plaintiffs' Rule 30(b)(6) Notice of Deposition to the Texas
          Department of Criminal Justice

  134     Tex. Dep’t State Health Services License Details for 301
          University Blvd. Hospital
  135     TDCJ Hospital Website

  136     Julianne (Julie) Skarha CV

  137     Jason Wilson EMessaging (May 26, 2024 – July 8, 2024)




                                                                        14
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 16 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                       Stip.      Obj.              Date Admitted
 No.
  138     Jason Wilson Letter and Grievance

  139     Defendant Collier’s Responses to Plaintiff Tiede’s First
          Set of Interrogatories (May 31, 2024)

  140     Defendant Collier’s Responses to Plaintiff Tiede’s First
          Set of Requests for Production, Bates Nos. TIEDE
          DEF_00087-13923 (May 31, 2024)

  141     Defendant's Objections and Responses to Plaintiff's First
          Set of Interrogatories (May 31, 2024)

  142     Defendant's Objections and Responses to Plaintiff's First
          Set of Requests for Production, Bates Nos. TIEDE
          DEF_00087-13923 (June 4, 2024)

  143     Second Declaration of Charlie Malouff (June 4, 2024)

  144     Second Declaration of Amite Dominick (June 6, 2024)

  145     Second Declaration of Jennifer Toon (June 6, 2024)

  146     TPCA's Mailing List of Individuals Incarcerated in TDCJ
          Facilities

  147     Examples of More than 25 Official TPCA Team Member
          Incarcerated Volunteers

  148     T.X. CURE Inmate Master Mailing List




                                                                      15
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 17 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                    Stip.         Obj.              Date Admitted
 No.
  149     Email from K. Blifford to C. Vega re: McConnell
          Lockdown and Issues with Respite Area Access,
          TIEDE_DEF0110764 (June 24, 2024)

  150     TDCJ Air Conditioning Construction Projects

  151     Letter from Billy Mitchell to Charlie Malouff (July 1,
          2024)

  152     Wilson – Custodial Death Report (July 11, 2024)

  153     Regional Fact Sheet North and Central America

  154     Humane Temperatures Potential Cost Savings Report by
          TPCA

  155     Odis Banks Death Investigation Materials
  156     Jose Barajas Death Investigation Materials
  157     Mario Benitez Death Investigation Materials
  158     Adam Birchprice Death Investigation Materials

  159     Randy Butler Death Investigation Materials
  160     James Cardona Death Investigation Materials

  161     John Castillo Death Investigation Materials
  162     Christopher Chavez Death Investigation Materials




                                                                   16
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 18 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                   Stip.          Obj.              Date Admitted
 No.
  163     Clifton Choyce Death Investigation Materials

  164     Diego Duenas Death Investigation Materials
  165     Jordan Dupree Death Investigation Materials
  166     Robert Evitts Death Investigation Materials
  167     Lakeith Ford Death Investigation Materials
  168     Armando Gonzales Death Investigation Materials

  169     Elizabeth Hagerty Death Investigation Materials

  170     Adrian Hayward Death Investigation Materials

  171     Carlos Hernandez Death Investigation Materials

  172     Clifford Hill Death Investigation Materials
  173     John Hurst Death Investigation Materials
  174     Michael Ingram Death Investigation Materials

  175     Antonio Ishmon Death Investigation Materials

  176     Marshall Isome Death Investigation Materials

  177     Anthony Jennings Death Investigation Materials

  178     Brian Loud Death Investigation Materials
  179     Marcus Lumpkins Death Investigation Materials



                                                                 17
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 19 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                  Stip.          Obj.              Date Admitted
 No.
  180     Iram Maynez Death Investigation Materials
  181     Michael McCann Death Investigation Materials
  182     Paul Morales Death Investigation Materials
  183     Joel Morris Death Investigation Materials
  184     Jamie Nonn Death Investigation Materials
  185     Andres Ortiz Death Investigation Materials
  186     Stephen Pardue Death Investigation Materials

  187     Michael Peek Death Investigation Materials
  188     Peyton Pendley Death Investigation Materials

  189     Paul Rojas Death Investigation Materials
  190     Eddie Sanchez Death Investigation Materials
  191     John Skinner Death Investigation Materials
  192     Jon Anthony Southards Death Investigation Materials

  193     Cantrell Spears Death Investigation Materials

  194     Arelandis Spiller Death Investigation Materials
  195     Johnny Teeters Death Investigation Materials

  196     Olga Torres Death Investigation Materials
  197     Allen Turner Death Investigation Materials




                                                                18
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 20 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                       Stip.      Obj.              Date Admitted
 No.
  198     Adam Williams Death Investigation Materials
  199     Clint Wilson Death Investigation Materials
  200     Patrick Womack Death Investigation Materials
  201     Marvin Wyatt Death Investigation Materials
  202     Juan Young Death Investigation Materials
  203     Collier’s Response to Interrogatory No. 2, Webb v.
          Livingston (January 30, 2017)

  204     Mr. Collier’s Response to Interrogatory No. 2, Tiede v.
          Collier (July 15, 2024)

  205     Mr. Collier’s Response to Interrogatory No. 6, Tiede v.
          Collier (July 15, 2024)

  206     Inmate and Employees Heat-Related Illnesses Mr.
          Collier’s Responses to Interrogatory Nos. 8 & 9, Tiede v.
          Collier (July 15, 2024)

  207     Spreadsheet of TDCJ Employees’ Workers’
          Compensation Complaints, Mr. Collier's Response to
          Interrogatory No. 10, Tiede v. Collier (July 15, 2024)

  208     Bernhardt Tiede’s Housing Placements, Mr. Collier’s
          Response to Interrogatory No. 15, Tiede v. Collier (July
          15, 2024)




                                                                      19
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 21 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                      Stip.      Obj.              Date Admitted
 No.
  209     TDCJ’s Livestock Management Policies, Mr. Collier's
          Response to Request for Production No. 17, Tiede v.
          Collier (July 15, 2024)

  210     Bernhardt Tiede’s Medical Records, Mr. Collier’s
          Response to Request for Production No. 20, Tiede v.
          Collier

  211     Inmates’ Lawsuits re: Heat-Related Issues, Mr. Collier’s
          Response to Request for Production No. 21, Tiede v.
          Collier

  212     Audio File – J. Wilson Hang up (July 7, 2024)

  213     Audio File – J. Wilson Request for Check (July 7, 2024)

  214     Audio File – Follow up call on WC (July 7, 2024)

  215     Appropriations Committee—S/C on Arts. I, IV, & V (Feb.
          14, 2019)

  216     Corrections Committee Collier Testimony (March 21,
          2019)

  217     Collier Testimony to Texas State House Committee on
          Corrections (April 21, 2021)

  218     87th Legislature Corrections Committee (Sept. 27, 2021)

  219     Appropriations Committee Hearing (July 12, 2022)



                                                                     20
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 22 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                     Stip.       Obj.              Date Admitted
 No.
  220     TDCJ Public Information Request (Aug. 31, 2023)

  221     Letter from Elizabeth Guthrie to Lioness (May 28, 2024)

  222     Letter from Samantha Rodman to Lioness (June 10, 2024)

  223     Mr. Collier’s Heat-Related Meetings, Mr. Collier’s
          Response to Request for Production No. 5, Tiede v.
          Collier

  224     TDCJ’s Temperature Reports, Mr. Collier’s Responses to
          Request for Production Nos. 7, 8, 10, Tiede v. Collier

  225     Clifton Buchanan and Dr. Carlee Purdum Testimony at
          House Appropriations Committee (July 12, 2022)

  226     Collier Testimony at House Appropriations Committee
          (July 12, 2022)

  227     TDCJ’s Cost Estimates, Mr. Collier’s Response to
          Request for Production No. 14, Tiede v. Collier

  228     Heat-Related Grievances, Mr. Collier’s Response to
          Request for Production No. 15, Tiede v. Collier

  229     Heat-Related WC Complaints, Mr. Collier’s Response to
          Request for Production No. 24, Tiede v. Collier

  230     TDCJ Temperature Logs
  231     Sanctions Order, Cole v. Collier (Dec. 11, 2019)



                                                                    21
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 23 of 28

                 Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                  Stip.          Obj.              Date Admitted
 No.
  232     Heat Preparedness Posters and Pocket Card
  233     TDCJ Heat Related Illness Video (2017)
  234     TDCJ Heat Related Illness Video (2014)
  235     TDCJ Heat Related Illness Patient Education Video
  236     TDCJ Seasonal Preparedness Memos
  237     Dr. Jeanette Cross CV
  238     Picture of Mr. Bernhardt Tiede II 2016
  239     Tiede OAG Medical Records (2023)
  240     Tiede Huntsville Memorial Medical Records
  241     Video of Mr. Tiede 1
  242     Video of Mr. Tiede 2
  243     Video of Mr. Tiede 3
  244     Video of Mr. Tiede 4
  245     Video of Mr. Tiede 5
  246     Video of Mr. Tiede 6
  247     Video of Mr. Tiede 7
  248     Video of Mr. Tiede 8
  249     Video of Mr. Tiede 9
  250     Emailed Attachments from A. Carter
  251     Paul S. Uribe, M.D. CV



                                                                22
                           Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 24 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                        Stip.     Obj.              Date Admitted
 No.
  252     Luis Sanchez Death Investigation Materials
  253     Marcus Lumpkins Death Investigation Materials
  254     Mr. Collier’s Responses to Plaintiffs’ First Set of
          Interrogatories (July 22, 2024)

  255     Official Transcript of TDCJ Rule 30(b)(6) Witness David
          Sweetin (July 25, 2024)

  256     Order for Preliminary Injunction, Cole v. Livingston (June
          21, 2016)

  257     Memorandum and Order Granting Class Certification,
          Cole v. Livingston (Jan. 22, 2016)

  258     Memorandum and Opinion regarding Preliminary
          Injunction, Cole v. Collier (July 19, 2017)

  259     Memorandum and Order regarding Sanctions, Cole v.
          Collier (Dec. 11, 2019)

  260     TDCJ’s Second Supplemental Responses to Webb’s First
          Set of Interrogatories, Webb v. Livingston (June 29, 2017)

  261     TDCJ’s Third Supplemental Responses to Webb’s First
          Set of Interrogatories, Webb v. Livingston (June 29, 2017)

  262     Mr. Collier’s Responses to Plaintiff’s First Set of
          Requests for Production (July 22, 2024)




                                                                       23
                          Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 25 of 28

                  Tiede v. Collier – Plaintiffs’ Second Amended List of Exhibits for Preliminary Injunction Hearing


Exhibit   Description of Exhibit                                         Stip.    Obj.              Date Admitted
 No.
  263     Declaration of Dr. Jeanette Cross with Attachments (Aug.
          29, 2023)

  264     Messages between Brittany Robertson and Jason Lee
          Wilson (May-July 2024)

  265     Email from Kate Blifford to Bryan Collier, et al. (July 11,
          2022)
  266     Texas Department of Criminal Justice Self-Evaluation
          Report (August 31, 2023)

  267     KCBD Investigates: TDCJ requests millions in funding to
          help with staffing crisis (Oct. 12, 2022)

  268     TDCJ Report Temperatures and Temperature Related
          Deaths FY 22

  269     Texas Prison Letter from Christopher Flores (July 22,
          2024)

  270     TDCJ Report Monitoring of Temperatures and
          Temperature Related Deaths FY 21

  271     Email to Brad Livingston from Lannette Linthicum (June
          26, 2009)




                                                                        24
       Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 26 of 28




DATED this 30th day of July, 2024.   Respectfully submitted,


                                     /s/ Kevin D. Homiak
                                     Thomas A. Olsen (pro hac vice)
                                     Kevin D. Homiak (pro hac vice)
                                     Ellen R. Blatt (pro hac vice)
                                     Wheeler Trigg O’Donnell LLP
                                     370 Seventeenth Street, Suite 4500
                                     Denver, CO 80202-5647
                                     Telephone:      303.244.1800
                                     Facsimile:      303.244.1879
                                     Email: olsen@wtotrial.com
                                               homiak@wtotrial.com
                                               blatt@wtotrial.com

                                     Erica Grossman (pro hac vice)
                                     Holland, Holland Edwards & Grossman, LLC
                                     1437 High Street
                                     Denver, CO 80218
                                     Telephone:    303.860.1331
                                     Email: erica@hheglaw.com

                                     Jodi Cole
                                     Texas Bar No. 24045602
                                     Law Office of Jodi Cole, PLLC
                                     203 East Murphy Street
                                     Alpine, TX 79830
                                     Telephone:    432.837.4266
                                     Facsimile:    512.692.2575
                                     Email: jcole@jodicole.com
Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 27 of 28




                             Jeff Edwards
                             Texas Bar No. 24014406
                             David Anthony James
                             Texas Bar No. 24092572
                             Lisa Snead
                             Texas Bar No. 24062204
                             Paul Samuel
                             Texas Bar No. 24124463
                             Edwards Law
                             603 W. 17th Street
                             Austin, TX 78701
                             Telephone:     512.623.7727
                             Facsimile:     512.623.7729
                             Email: jeff@edwards-law.com
                                      david@edwards-law.com
                                      lisa@edwards-law.com
                                      paul@edwards-law.com

                             Attorneys for Plaintiffs
        Case 1:23-cv-01004-RP Document 164 Filed 07/30/24 Page 28 of 28




                        CERTIFICATE OF SERVICE (CM/ECF)

        I HEREBY CERTIFY that on July 30, 2024, I served the foregoing on all counsel of
record through the court’s CM/ECF e-filing system.



                                              /s/ Kevin D. Homiak
                                              Kevin D. Homiak
